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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as            Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

   MOTION FOR EXPEDITED CONSIDERATION OF EMERGENCY MOTION TO
    RESET DEADLINES AND SET THIS MATTER FOR TRIAL ON THE MERITS

       Attorney General Jeff Landry, on behalf of the State of Louisiana, Secretary of State Kyle

Ardoin, Clay Schexnayder, Speaker of the Louisiana House of Representatives, and Patrick Page

Cortez, President of the Louisiana Senate, each in their respective official capacities (collectively

“Defendants”) move for expedited consideration of their Emergency Motion to Reset Deadlines

and Request that this Matter be Set for Trial (hereinafter, “Emergency Motion”).

                                          1.

       The Emergency Motion primarily relates to this Court’s: (1) failure to set appropriate

deadlines for the currently scheduled remedial hearing on Plaintiff’s motion for preliminary
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injunction; (2) failure to set a date or scheduling order for a prompt trial on the merits; and, (3)

lack of jurisdiction to commence a remedial proceeding.

                                          2.

        Defendants require a prompt decision given the impending remedial proceeding.

                                          3.

        Defendants sought consent from Plaintiffs for the relief sought herein. Plaintiffs oppose

such relief.

                                          4.

        Therefore, given the compressed timeline laid out in the accompanying Memorandums,

Defendants respectfully request the Court require a response by Plaintiffs by Wednesday, August

30, and issue an opinion respecting the Emergency Motion by Friday, September 8th.

Dated: August 25, 2023


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 25th day of August 2023, the foregoing has been filed with the
Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                              /s/ Jeffrey M. Wale
                                              Jeffrey M. Wale




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